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                   Exhibit 11
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                           UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA


IN RE: OIL SPILL by the OIL RIG           *                 MDL NO. 2179
       “DEEPWATER HORIZON” in the         *
       GULF OF MEXICO, on                 *
       APRIL 20, 2010                     *                 SECTION J
                                          *
                                          *
                                          *                 JUDGE BARBIER
                                          *                 MAG. JUDGE SHUSHAN
*******************************************


            SUPPLEMENTAL DECLARATION OF XAVIER OUSTALNIOL

I.      Qualifications & Scope of Services

        1. I prepared this declaration to supplement my January 23, 2013 declaration (the
           “Initial Declaration”) that related to claims submitted by professional service firms to
           the Court Supervised Settlement Program. Appendix A to my earlier declaration
           contains a complete statement of my background and qualifications.


        2. I was involved in developing BP’s approach for matching monthly revenue to
           corresponding expenses for professional service firms, (as well as other aspects of the
           approach) provided in Tab 1 of the BP Response to Class Counsel’s December 16,
           2012 Request for Policy Determination (the “BP Approach”). I was also involved in
           developing the triggers to determine when additional review is needed to ensure
           proper matching of revenue to corresponding expenses that BP proposed in a
           supplemental submission to the Claims Administrator.


        3. I have been asked by BP to address accounting and other issues raised by Class
           Counsel’s submission to the Court on January 23, 2013, specifically in regard to the
           methodology included in the January 8, 2013 “BP’s Response to Class Counsel’s
           December 16, 2012 Request for Policy Determination” and BP’s supplemental




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           submission of January 23, which included the declarations or affidavits of three
           declarants, Allen Carroll, Harold A. Asher and Rick Stutes.


      4. In reaching my opinions listed below, I relied on my certified public accountant’s
           experience, including my familiarity with accounting for professional services firms.
           Appendix A lists the documents I relied on.


II.   Plaintiffs’ Accountants’ Declarations Are Misguided.

      5. Class Counsel and their experts’ characterization of BP’s Approach as a subjective
           restatement of the claimants’ financial statements under a different basis of
           accounting is misleading and incorrect. BP’s Approach does not subjectively restate
           the financial statements of a claimant on a different basis of accounting or alter the
           Business Economic Loss (“BEL”) framework calculation. In fact, the BP Approach
           uses the financial information provided by claimants to accurately capture the actual
           economic performance of the firms, and eliminates the distortions inherent to certain
           monthly financial statements whether prepared under the accrual basis of accounting,
           or under a cash basis of accounting. I address each declaration in turn below.


      A.      Carroll Declaration

      6. Mr. Carroll essentially makes the following statements in his declaration:


                 Verifiable data is not available for businesses that use cash basis to convert
                  their books to any other method of accounting.

                 BP is advocating a “matching” method that is “not a known or used method of
                  accounting” as it is requires the recognition of contingent revenue.

                 The requirement of matching as proposed by BP would mean that the formula
                  published in the settlement agreement could no longer be applied on a uniform
                  and consistent basis for all claimants.

      7. Mr. Carroll confuses two different issues: (1) the method of accounting under which a
           claimant submits financial statements, and (2) what must be done to implement the
           BEL framework and provide economically meaningful financial information to
           measure losses. BP’s Approach does not equate to the claimants having to restate

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             their financial statements. BP’s Approach is to properly determine Variable Profit
             based on the financial data provided by claimants, by matching revenues earned to
             expenses incurred in the proper months.


         8. Mr. Carroll focused his discussion on contingent revenue and specifically on the
             realizability of revenue. Although Financial Statement Concept 5 (“FASCON”) is an
             applicable accounting reference to consider for the purpose of evaluating revenues,
             financial statements prepared under a modified cash basis of accounting, would not
             comply with GAAP.. Further, BP is not suggesting to recognize revenues that have
             not been or will not be received by the claimant.1 The revenues a claimant earned in
             2010 or the benchmark period years have been realized for the most part by 2013.2
             Given how the Settlement Agreement operates, FASCON 5 which focuses upon
             contingent revenue generally has no role here, as the revenue at issue in most
             instances already has been realized, earned and is known.


         9. For the purpose of applying the BEL framework, there is little or no uncertainty for
             the contingent revenues recorded in the Benchmark Periods. In fact, now that we are
             in 2013, they are no longer contingent and can be matched to measure the
             performance of the claimant. Exceptions are likely to be rare.


         10. Mr. Carroll has not addressed how Variable Profit is calculated under the terms of the
             BEL compensation framework and the distortions created by failing to address cash
             based reporting issues and other classification issues (such as pass through expenses
             included as revenues). He has not commented on the distortions I have observed from
             my review of professional service claimant files. In fact, Mr. Carroll ignores the
             Variable Profit calculation altogether from the Settlement Agreement.



1
  FASCON 5 states in part: “Further guidance for recognition of revenues and gains is intended to provide an
acceptable level of assurance of the existence and amounts of revenues and gains before they are recognized.
Revenues and gains of an enterprise during a period are generally measured by the exchange values of the assets
(goods or services) or liabilities involved, and recognition involves consideration of two factors (a) being realized or
realizable and (b) being earned, with sometimes one and sometimes the other being the more important
consideration." (See FASCON 5 at par. 83)
2
  Incidentally, BP is not suggesting as Mr. Carroll implies that revenues that were never collected be matched to
expenses incurred.

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        B.      Asher Affidavit and Stutes Declaration

        11. Mr. Asher raises the following issues in his affidavit:


                   BP’s accounting methodology is not objective and requires claimants and
                    program vendors to make subjective determinations or “guesstimates,”
                    relying, in many cases, on nonexistent or fictional support.

                   BP’s accounting methodology is impractical, unworkable and inconsistent
                    with the terms of the Agreement.

                   BP’s accounting methodology creates two separate evaluation models – those
                    with adequate documentary support and those for which adequate support
                    does not exist.

        12. Mr. Stutes’ expresses opinions in his declaration that are very similar to Mr. Asher’s.
             I am addressing them together in this section. Messrs. Asher and Stutes make other
             statements in their affidavits that I am not addressing because they are legal issues,
             which I am not qualified to address. Even so, I do not agree with their statements.


        13. Their description of the BP Approach as an “accounting methodology” is inaccurate
             and misleading. There is no requirement concerning which basis of accounting should
             be used to provide the financial statements of the claimants. However, there is a
             requirement that the financial information represent the actual historical financial
             performance of the claimant.3 BP is not trying to have the Settlement Program restate
             financial statements of the claimants from one method of accounting to another.
             Instead, BP is asking that the Settlement Program properly implement the Settlement
             Agreement by using the information provided (or accessible) in the manner required
             under the Agreement so that it actually allows for the reasonable measurement of
             monthly Variable Profit.


        14. In that light, Messrs. Asher’s and Stutes’ discussions concerning the realizability of
             revenues, and whether contingent revenue should be recognized if unknown, is
             misplaced because now, several years after the Benchmark years of 2007-2009 and


3
 See Exhibit 4C to the to the Settlement Agreement “Compensation Framework for Business Economic Loss
Claims.”

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      the spill year of 2010, in most cases, the revenues earned in 2010 and the benchmark
      period year(s) are known. There is no need to estimate the realizability of such
      revenues; in most cases, as well as the expenses related to such revenues and the
      historical performance of the claimant can now be measured.


   15. Without using BP’s approach to properly implement the Settlement Agreement, as
      suggested by Messrs. Asher and Stutes, theoretically a claimant could record only one
      large accounting entry in December to record all of the activity of the entity for the
      entire year. The annual financial statements would still be prepared under a
      recognized method of accounting (generally accepted accounting principles
      (“GAAP”) or modified cash basis) but there would be no profits or losses incurred
      during 11 months. In that example, the monthly financial statements would not reflect
      any economic activity until December. The Variable Profits during these months
      would be nil. Still, revenues in any of the preceding months could be used in the
      Benchmark period, as if they were representative of the performance of the claimant.
      That result is not economically reasonable and cannot allow the mechanisms of the
      BEL framework to be properly applied.


   16. Contrary to Messrs. Asher’s and Stutes’ statements, BP’s approach to properly
      implement the Settlement Agreement is designed to enable the measurement of
      Variable Profit based on objective claimant-specific data, which includes hours
      worked for professional services firms or a measurement of the effort made. This is,
      in my view, what is required by the Settlement Agreement. In the case where there is
      no method of tracking hours for a professional service firm, then the best
      approximation is variable expenses reported in the month.


   17. Finally, I note that Messrs. Asher and Stutes have not made any comment in regard to
      the proper matching of pass-through costs or how the non-matching of revenues
      earned and corresponding expenses affects the measure of damages based on the
      Variable Profit calculation provided for in the Settlement Agreement.




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III.    The Current BEL Framework Methodology Yields Pervasive Irrational Results for
        Professional Services Firms.

        18. Based on my review of claims submitted by professional services firms, I found
             frequently abnormal results when Class Counsel’s current interpretation was applied,
             mostly to the detriment of BP.4 The distorted awards reflect the incorrect use of the
             data provided by the claimants in applying the BEL methodology, not a flaw in the
             methodology itself.


        19. The measurement of the losses under the BEL framework depends on the proper
             determination of Variable Profit. Variable Profit is a widely accepted financial metric
             used to evaluate lost profits and can only be properly calculated for a given period by
             matching revenues earned to expenses incurred to generate those same revenues.5 The
             matching principle is a basic financial accounting concept, which the accounting
             literature recognizes will provide the best outcome for the purpose of measuring the
             economic performance of an entity. The current interpretation of the Settlement
             Program, however, is inconsistent with this fundamental accounting concept because
             it allows the calculation of Variable Profit by comparing revenues with totally
             unrelated costs. Consequently, the monthly calculation of Variable Profit is flawed in
             many cases.


        20. My review of a number of professional services firms claimants’ files has shown that
             the anomalies in claim determination are not just occasional but, on the contrary,
             pervasive. In addition, I have found that the anomalies consistently indicate an
             overstatement6 for the benefit of claimants and to the detriment of BP. I describe my
             observations in more detail below.


        21. I selected 37 BEL claims of professional service firms from 335 professional service
             firm claims filed as of late December 2012. From these firms, I selected claims for

4
  See discussion of criteria at par. 23.
5
  For instance in regard to the concept in cost accounting: “The contribution of a given segment of sales to cover
fixed costs and provide a profit is known by various names as marginal income, variable profit or contribution
margin. It is obtained by deducting from sales revenue for a particular segment of the business the variable costs
that relate to that revenue.” Manash Dutta, Cost Accounting: Principles and Practice, Pearson, 2003. P. 15.4
(emphasis added).
6
  See discussion at par. 23.

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               my review which were large relative to others on the list (sorted in decreasing claim
               amount) and some smaller claims submitted by claimants located in various Zones. I
               analyzed the claims by applying the triggers proposed by BP to the 37 claims in order
               to identify unusual or unexpected Variable Profit or revenue variances, and then
               reviewed the PwC Excel files supporting the calculation of offers and other files
               available on the CSSP portal. Seven of the claims were not responsive to any of the
               triggers.7 Of the 30 responsive claims, 8 were discussed and analyzed in my Initial
               Declaration (at Appendix G) and 22 additional claims are listed in a table describing
               which trigger criteria they were responsive to, at Appendix C to this Declaration.
               These 22 additional professional services firm BEL claims are discussed in Appendix
               B to this Declaration.


           22. My analysis of the 30 professional services firm claims revealed that these
               professional services firms displayed unusual and unexpected monthly variances in
               Variable Profits and revenues because the revenues generated were not matched to
               corresponding variable expenses incurred in the proper period.


           23. My analysis also revealed that the anomalies or distortions observed in BEL
               compensation offers to professional services firms consistently result in an
               overstatement of the offers. This is measured by the fact that for many of the 30
               claimants their 2010 Variable Profit (May - December) plus BEL base compensation
               offer to the claimant exceeds their average Variable Profit for May - December of the
               Benchmark year(s). For a good number of claimants their 2010 Variable Profit (May
               - December) plus BEL base compensation offer exceeds their revenues during 2009
               or the average of the benchmark years or 2010 (for the same period). This result does
               not make economic sense because profits are, by definition, revenues less expenses.
               Revenues should be greater than profits. The Claims Administrator’s interpretation as
               currently applied cannot address this issue without properly evaluating the data
               provided by claimants and making appropriate correcting adjustments to correct the
               mismatching.



7
    See Appendix G to my Initial Declaration explaining how the triggers operate.

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        24. The distortions which I have observed in the 30 BEL claim offers to professional
             services firm claimants include, but are not limited to:


             -   Offers to claimants whose revenues from May - December 2010 exceed 2009
                 revenues in the same period: 6 claimants, by more than 92%, 23%, 12%, 10%, 9%
                 and 2%.8


             -   Offers which when added to actual Variable Profits (May-December) in 2010 lead
                 to 2010 Variable Profits in excess of revenues for 2009 or the benchmark period
                 and/or 2010: 21 claimants.9


             -   Offers which when added to actual Variable Profits in 2010 (May-December)
                 exceed 2009 (Benchmark) Variable Profits: 27 claimants.10


             -   Variable Profit margins with extreme variances: 22 claimants displayed variable
                 profit margins ranging from -530% to 98% in the benchmark period or -279% to
                 40%, -1,414% to 100% (claimants 3, 7 and 1, respectively), -6,275% to -32%,11
                 and -8,800% to -18%,12 etc.


        25. These distortions emanate from the data provided by claimants which on a monthly
             basis does not allow Variable Profits to be calculated appropriately. When the BEL
             formula is applied, this results in pervasive distortions, which are frequent and
             material because the amount of the offers seem overstated in absolute dollars or in
             percentage.13




8
  Claimant               in Initial Declaration and Claimants 1 through 5 in Appendix B to Supplemental Declaration.
9
  Claimants 1 through 11 and 18 through 20 at Appendix B to Supplemental Declaration and others in my Initial
Declaration.
10
   All 8 claimants in my Initial Declaration and 19 claimants in my Supplemental Declaration (1-11, 13-17, and 19-
21 at Appendix B).
11
   See Initial Declaration at p. 11.
12
   See Claimant 5 in Initial Declaration at Appendix E.
13
   See discussion at par. 23, above.

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IV.      BP’s Approach Is Based on Commonly Applied and Widely Recognized Accounting
         Concepts and Methods to Measure Variable Profit.

         26. While variable profit is not specifically defined in generally accepted accounting
             principles, it is a well understood and widely utilized financial measure of
             performance that provides for marginal income measurement and is frequently used
             to measure damages. It is calculated by deducting from revenues the variable costs
             that relate to that revenue and were incurred to generate it. Consequently, the proper
             measure of Variable Profit is entirely dependent upon accurately identifying revenues
             earned and corresponding expenses incurred during each month, that is, matching
             them, which itself is a widely accepted accounting concept. The finance literature,
             which describes typical methods to measure damages, supports the view that
             methodologies used by economists and accountants require that revenues14 must be
             matched15 to the expenses16 incurred to generate such incremental revenues in order
             to calculate lost profits.17


14
   Revenue is defined in the accounting literature as “… inflows or other enhancements of assets of an entity or
settlements of its liabilities (or a combination of both) from delivering or producing goods, rendering services, or
other activities that constitute the entity’s ongoing major or central operations.” Financial Accounting Standards
Board Concept Statement 6 (As Amended): Elements of Financial Statements, p. 30, Par. 78.
Other authors define revenue as a “… measure inflows of net assets (that is, assets less liabilities) from selling goods
and providing services.” Stickney, C.P. Financial Reporting and Statement Analysis, A Strategic Perspective, 3rd
Edition. 1996. p. 14.
Also, “[r]evenues represent actual or expected cash inflows (or the equivalent) that have occurred or will eventuate
as a result of the entity's ongoing major or central operations.” Financial Accounting Standards Board Concept
Statement 6 (As Amended): Elements of Financial Statements, p. 30, Par. 79.
15
   The matching principle concept, as described in par. 19 above, can be found in various accounting literature, such
as the following: “Matching Principle [r]equires that expenses be recorded when incurred in earning revenue.”
Libby, R, P. Libby and D.G. Short, Financial Accounting, McGraw-Hill Irwin, 7th Edition. 2011. G-3 [emphasis in
original]. Or, “[M]atching convention [is] [t]he concept of recognizing cost expirations (expenses) in the same
accounting period during which the firm recognizes related revenues; combining or simultaneously recognizing the
revenues and expenses that jointly result from the same transactions or other events.” Maher, M.W., C.P. Stickney,
and R.L. Weil, Managerial Accounting, South-Western Cengage Learning, 11th Edition. 2012. p. 564 [Italics in
original; bold emphasis added].
16
   Expense is defined as “…outflows or other using up of assets or incurrences of liabilities (or a combination of
both) from delivering or producing goods, rendering services, or carrying out other activities that constitute the
entity's ongoing major or central operations.” Financial Accounting Standards Board Concept Statement 6 (As
Amended): Elements of Financial Statements, p. 31, Par. 80.
Similarly, other authors define expenses as “[d]ecreases in assets or increases in liabilities from ongoing operations
incurred to generate revenues during the period.” Libby, R, P. and D.G. Short, Financial Accounting, 7th Edition.
2011. G-2. Also, “[e]xpenses represent actual or expected cash outflows (or the equivalent) that have occurred or
will eventuate as a result of the entity's ongoing major or central operations.” Financial Accounting Standards
Board Concept Statement 6 (As Amended): Elements of Financial Statements, p. 31, Par. 8.
17
   For example, in the Litigation Services Handbook – The Role of the Financial Expert, the authors describe the
process as: “(i) Incremental Sales or Revenues. In a lost profits study, the analyst must first compute the amount of

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        27. The source of the data used to calculate variable profit is based on existing financial
             and operational records (external financial records and/or internal financial records
             and other data). When measuring variable profit, revenues earned are matched against
             the expenses related to those revenues earned over the period of reference, which
             could be quarters, years, or, in this case, months.


        28. BP’s Approach is founded on basic financial accounting concepts and specifically the
             concept of matching revenues earned to corresponding expenses incurred, as I
             explained in my Initial Declaration,18 which is consistent with the calculation of
             variable profit.


        29. If, as explained above, and as is the case in many of the professional services firm
             claimant files I have reviewed, the monthly P&L data is not prepared by matching
             revenues earned to their corresponding expenses, the resulting Variable Profit
             calculation is flawed as a basis to measure damages. Class Counsel’s interpretation of
             the “corresponding” language as reflected in these files is inherently incorrect as it
             compares revenues and expenses which are not connected with each other and
             therefore bear no relationship to each other or the actual performance of the company.
             It is for those reasons that these monthly financial statements will not accurately
             measure variable profit on a monthly basis, and will yield irrational results when
             compared across years.


V.      BP’s Approach to Properly Implement the Settlement Agreement Allows the CSSP
        to Accurately Determine Lost Profits in an Objective and Straightforward Manner

        30. The submission to the Court by the Claims Administrator, Mr. Juneau, acknowledges
             that irregularities in claim determinations will occur using the Claims Administrator’s
             interpretation of the BEL framework, However, BP’s interpretation of the settlement
             agreement is the accurate, indeed, best way to properly calculate variable profit, and
             the approach outlined by BP is both objective and straightforward to implement.


lost revenues […] that the defendant’s actions have caused: […]”, and “(ii) Incremental Costs. After estimating the
amount of lost sales, the expert must subtract the costs the firm would have incurred to achieve these revenues […]”
(at pp.8 and 11).


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             BP’s approach that the revenues and expenses be assigned to the proper period when
             earned and incurred, respectively, would yield a proper measurement of Variable
             Profit for the purpose of evaluating lost profits based on objective data provided by
             the claimants. BP’s Approach does not subjectively restate the financial statements of
             a claimant on a different basis of accounting or alter the BEL methodology in any
             way.


         31. In fact, the BP Approach uses financial information provided by claimants and
             specific to their business to accurately capture the actual economic performance of
             the firms and eliminate the distortions inherent in certain monthly financial
             statements whether prepared under the accrual basis of accounting, or under a cash
             basis of accounting. In many cases, companies do not close their books monthly
             consistent with GAAP or any other comprehensive basis of accounting. They make a
             number of adjustments only at year-end to comply with tax or GAAP requirements.
             As a result, monthly P&Ls are subject to the timing of cash inflows and outflows, and
             often will not accurately reflect operating performance (especially when following a
             cash-based accounting method). Thus, as it stands currently, a claimant’s particular
             monthly financial P&L often does not accurately reflect revenue earned during the
             period and corresponding variable expenses, even where the annual financial
             statements are accurately prepared.19 Consequently, without any alignment of
             revenues to corresponding expenses, mechanically, the monthly Variable Profit is
             distorted and does not provide a reasonable basis to measure claimant’s performance
             and the resulting calculations will not measure damages.


         32. The BP Approach does not change the mechanism or terms described in the
             Settlement Agreement. BP’s Approach seeks to assure that accurate monthly financial
             inputs are used to be able to properly apply the “objective, straight forward
             mechanism” provided by the BEL framework. The result is an economically



19
   Even if monthly P&Ls were prepared in accordance with GAAP, the P&Ls, which contain the basis for measuring
Variable Profit, include line items which have to be classified between fixed and variable costs (see Exhibit 4D) and
I noted a number of classification issues between various line item as explained in my Initial Declaration (at pp. 5-
7.)

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                                            Appendix C

                                  BP’s Proposed Triggers or Thresholds


BP has proposed three indicators or thresholds that would trigger a further review of a claimant’s
financial data. These triggers are as follows:


          Trigger 1 (Revenue Spike): is a test designed to capture unusual and non seasonal
           variance in the monthly financial revenue of a claimant when material cash is
           collected as opposed to earned.


          Trigger 2 (Months with Negative Margin): evaluates whether negative variable profit
           was recorded in any given month of the Benchmark period or 2010. The premise of
           the test is that the occurrence of negative variable profit indicates a potential
           mismatch between revenue and corresponding expenses as opposed to the failure of
           the firm to perform.


          Trigger 3 (Range of Variable Profit Percentages): seeks to capture unusual economic
           swings in variable profit margin (as a percentage of revenue) on a month-to-month
           basis during the Benchmark period or 2010. This trigger identifies potential
           distortions where the variable profit margin is affected by the timing of the payment
           of expenses and receipt of revenues.


These triggers detect those claimants with financial statements that are not representative of their
financial performance as illustrated in the chart below:




                                                 Page 1
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No.   Claimant ID.   Claim ID.   Benchmark Year   Compensation           Revenue Spike            Months with Negative       Range of Variable Profit
                                                    Months                                              Margin                    Percentages

1                     89271           2009         Sept - Nov    51% of 2009 annual revenue in   1 month in 2009         (1,414%) in Dec 2009 to 100% in
                                                                 Sept 2009                                               Feb, May 2009


2                     23333           2009         Aug - Nov     41% of 2009 annual revenue in   0 months in 2009        44% in Dec 2009 to 100% in Mar
                                                                 Aug 2009                                                2009


3                     45022           2009          May - Jul    28% of 2009 annual revenue in   1 month in 2009         (125%) in Jan 2009 to 100% in Feb,
                                                                 Apr 2009                                                Jul, Aug, Oct, Nov 2009


4                     53500           2009          Jun-Oct      23% of 2009 annual revenue in   3 months in 2009        (118%) in Oct 2009 to 198% in Dec
                                                                 Jun 2009                                                2009


5                     20275           2009          Oct-Dec      18% of 2009 annual revenue in   1 month in 2009         (170%) in Jun 2009 to 100% in Mar
                                                                 Dec 2009                                                2009


6                     89512      2007/2008/2009    May - Sept    50% of 2007/2008/2009 annual 0 months in                37% in Dec 2007/2008/2009 to
                                                                 revenue in May               2007/2008/2009             98% in April 2007/2008/2009


7                     48472           2009         Aug - Dec     26% of 2009 annual revenue in   0 months in 2009        40% in Dec 2009 to 98% in Sept
                                                                 Aug 2009                                                2009


8                     81524        2008/2009        Jul-Nov      12% of 2008/2009 annual         0 month in 2008/2009    (10%) in Sept 2008/2009 to 99% in
                                                                 revenue in Aug 2008/2009                                Jan 2008/2009


9                     26771        2008/2009       May - Sept    34% of 2008/2009 annual         0 months in 2008/2009   22% in Aug 2008/2009 to 95% in
                                                                 revenue in June 2008/2009                               Jan 2008/2009


10                    18039           2009          Jul - Sept   40% of 2009 annual revenue in   2 months in 2009        (131%) in May 2009 to 99% in Mar
                                                                 Sept 2009                                               2009


11                    56361           2009         Sept - Nov    58% of 2009 annual revenue in   2 months in 2009        (319%) in Dec 2009 to 95% in Nov
                                                                 Oct 2009                                                2009


12                    29669        2008/2009       May - Dec     59% of 2008/2009 annual         0 months in 2008/2009   64% in Sept 2008/2009 to 100% in
                                                                 revenue in Dec 2008/2009                                Apr 2008/2009


13                    89943        2008/2009        May-Oct      17% of 2008/2009 annual         1 month in 2008/2009    (323%) in Dec 2008/2009 to 109%
                                                                 revenue in Aug 2008/2009                                in May 2008/2009


14                     1237      2007/2008/2009     May-Nov      13% of 2007/2008/2009 annual 1 month in 2007/2008/2009 (19%) in Dec 2007/2008/2009 to
                                                                 revenue in Oct 2007/2008/2009                          84% in May 2007/2008/2009


15                    73016      2007/2008/2009     May-Sept     12% of 2007/2008/2009 annual 0 month in 2007/2008/2009 62% in Dec 2007/2008/2009 to
                                                                 revenue in May 2007/2008/2009                          96% in Jan 2007/2008/2009


16                    31909           2009         Aug - Dec     66% of 2009 annual revenue in   3 months in 2009        (899%) in Dec 2009 to 1,541% in
                                                                 Aug 2009                                                Jun 2009


17                    45443           2009          May-Nov      21% of 2009 annual revenue in   0 month in 2009         58% in Dec 2009 to 99% in Sept
                                                                 Sept 2009                                               2009


18                    25040        2008/2009       May - Oct     66% of 2008/2009 annual         0 months in 2008/2009   20% in Jun 2008/2009 to 96% in
                                                                 revenue in May 2008/2009                                May 2008/2009


19                    102577     2007/2008/2009    May - Dec     14% of 2007/2008/2009 annual 0 months in                72% in Dec 2007/2008/2009 to
                                                                 revenue in Aug 2007/2008/2009 2007/2008/2009            99% in Jan 2007/2008/2009


20                    51901      2007/2008/2009    May - Dec     30% of 2007/2008/2009 annual 0 months in                27% in Nov 2007/2008/2009 to
                                                                 revenue in Sept              2007/2008/2009             96% in Jan 2007/2008/2009


21                    46320        2008/2009       May - Dec     18% of 2008/2009 annual         0 months in 2008/2009   64% in Jul 2008/2009 to 94% in Feb
                                                                 revenue in Dec 2008/2009                                2008/2009


22                    92597      2007/2008/2009     May-Dec      11% of 2007/2008/2009 annual 7 month in 2007/2008/2009 (122%) in Jun 2007/2008/2009 to
                                                                 revenue in Aug 2007/2008/2009                          97% in Mar 2007/2008/2009




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